Exhibit

Ey It

Case 3:23-cv-00340 Document 56-15 Filed 03/13/24 Page 1 of 4 PagelD #: 768

UNITED STATES DEPARTMENT OF AGRICULTURE

BEFORE THE SECRETARY OF AGRICULTURE

AWG Docket No. 10-0184
Inre: ERNEST A. JOHNSON,
Petitioner
DECISION AND ORDER

This matter is before the Administrative Law Judge upon the request of Ernest A.
Johnson for a hearing to address the existence or amount of a debt alleged to be due, and
if established, the terms of any repayment prior to imposition of an administrative wage
garnishment. On May 3, 2010, a Prehearing Order was entered to facilitate a meaningful
conference with the parties as to how the case would be resolved, to direct the exchange
of information and documentation concerning the existence of the debt, and setting the
matter for a telephonic hearing on June 25, 2010.

The Respondent complied with that Order and a Narrative was filed, together with
supporting documentation on June 10, 2010. The Petitioner failed to file anything on his
behalf and was not reachable on the date of the hearing. Accordingly, this matter will
decided upon the record before me, and the following Findings of Fact, Conclusions of

Law and Order will be entered.

Case 3:23-cv-00340 Document 56-15 Filed 03/13/24 Page 2 of 4 PagelD #: 769
Findings of Fact

1. On September 9, 1994, the Petitioner and Anika Johnson, then his wife, received
a home mortgage loan in the amount of $72,780.00 from Farmers Home Administration
(FmHA) (now Rural Development (RD)) for property located at 1511 Faro Drive, Austin,
Texas. RX-1.
2. The property was sold at a short sale on May 12, 1998 with proceeds realized
from that sale in the amount of $74,000.00, leaving a balance due of $13,847.56. RX-3.
3. Treasury offsets totaling $8,285.35 (after fees) have been received. RX-3.
4. The remaining unpaid debt is in the amount of $5,562.21 (exclusive of potential
Treasury fees). RX-4.

Conclusions of Law
1. Ernest A. Johnson is indebted to USDA Rural Development in the amount of
$5,562.21 (exclusive of potential Treasury fees) for the mortgage loan extended to him.
2. All procedural requirements for administrative wage offset set forth in 31 C-F.R.
§285.11 have been met.

3. The Respondent is entitled to administratively garnish the wages of the Petitioner.

Order
For the foregoing reasons, the wages of the shall be subjected to administrative
wage garnishment at the rate of 15% of disposable pay, or such lesser amount as might be

specified in 31 C.F.R. § 285.11(i).

2
Case 3:23-cv-00340 Document 56-15 Filed 03/13/24 Page 3 of 4 PagelD #: 770
Copies of this Decision and Order shall be served upon the parties by the Hearing
Clerk’s Office.

Done at Washington, D.C.
June 25, 2010

PETER M. DAVENPORT
Chief Administrative Law Judge

Copies to: Ernest A. Johnson
Mary Kimball
Dale Theurer

Hearing Clerk’s Office

U.S. Department of Agriculture

1400 Independence Avenue SW

Room 1031, South Building

Washington, D.C. 20250-9203
202-720-4443

Fax: 202-720-9776

3
Case 3:23-cv-00340 Document 56-15 Filed 03/13/24 Page 4of 4 PagelD #: 771
